              Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 1 of 18




                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                              §
   In re:                                                     § Chapter 7
                                                              §
   ALEXANDER E. JONES,                                        § Case No. 22-33553 (CML)
                                                              §
              Debtor.                                         §
                                                              §

          SUMMARY COVERSHEET TO THE FIRST INTERIM FEE APPLICATION
         OF PORTER HEDGES LLP, AS BANKRUPTCY COUNSEL FOR CHAPTER 7
       TRUSTEE, CHRISTOPHER R. MURRAY, FOR ALLOWANCE OF COMPENSATION
                AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
           FROM JUNE 14, 2024 THROUGH AND INCLUDING OCTOBER 31, 2024

Name of Applicant:                                                Porter Hedges LLP
Applicant’s Role in Case:                                         Bankruptcy Counsel for the Chapter 7 Trustee,
                                                                  Christopher R. Murray
Date Order of Appointment Signed:                                 July 30, 2024 (Doc. No. 792)
                                                                  Beginning of            End of Period
                                                                  Period
Time period covered by this Application:                              06/14/2024                    10/31/2024
Time period(s) covered by prior Applications:                             N/A                           N/A
Total amounts awarded in all prior Applications:                                                                      N/A
Total fees requested in this Application and in all prior Applications:                                    $593,114.001
Total fees requested in this Application:                                                                   $593,114.00
Total professional fees requested in this Application:                                                      $569,711.00
Total actual professional hours covered by this Application:                                                       836.80
Average hourly rate for professionals:                                                                           $749.23
Total paraprofessional fees requested in this Application:                                                    $23,403.00
Total paraprofessional hours covered by this Application:                                                           54.10


   1
       PH’s fee statement for the June 14 to June 30 time period inadvertently included $625.00 of professional fees for
       work performed prior to PH’s retention on June 14, 2024. The amount of PH’s requested compensation for the
       Application Period and the amount outstanding have been accordingly reduced by $625.00 in this Application and
       the proposed order attached hereto.



   15623963
              Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 2 of 18




Average hourly rate for paraprofessionals:                                               $426.67
Reimbursable expenses sought in this Application:                                     $14,034.90
Application Cost (estimated; not included in above fees):                                 $5,000
Total of other payments paid to secured claimants                                          $0.00
Total of other payments paid to administrative claimants                           $1,707,192.002
Estimated Total for distribution to priority unsecured creditors                   Undetermined3
Estimated percentage dividend to priority unsecured creditors             Undetermined – see Fn 3
Estimated total for distribution to general unsecured creditors           Undetermined – see Fn 3
Estimated percentage dividend to general unsecured creditors              Undetermined – see Fn 3
Receipts to date in Chapter 7 to date                                              $9,284,193.00
Disbursements to date in Chapter 7 to date                                          $1,707,192.00
Current balance in the Trustee’s accounts to date                                  $7,577,001.00




   2
       Does not include cash amounts in operating accounts of FSS.
   3
       Distributions will depend on results of auctions and litigation.


                                                                 2
   15623963
         Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 3 of 18




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                §
In re:                                          § Chapter 7
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ALEXANDER E. JONES,                             § Case No. 22-33553 (CML)
                                                §
         Debtor.                                §
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                  FIRST INTERIM FEE APPLICATION
  OF PORTER HEDGES LLP, AS BANKRUPTCY COUNSEL FOR CHAPTER 7
TRUSTEE, CHRISTOPHER R. MURRAY, FOR ALLOWANCE OF COMPENSATION
         AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
    FROM JUNE 14, 2024 THROUGH AND INCLUDING OCTOBER 31, 2024

This application seeks an order that may adversely affect you. If you oppose the application,
you should immediately contact the moving party to resolve the dispute. If you and the
moving party cannot agree, you must file a response and send a copy to the moving party.
You must file and serve your response within 21 days of the date this was served on you.
Your response must state why the motion should not be granted. If you do not file a timely
response, the relief may be granted without further notice to you. If you oppose the
application and have not reached an agreement, you must attend the hearing. Unless the
parties agree otherwise, the court may consider evidence at the hearing and may decide the
application at the hearing.

Represented parties should act through their attorney.

         Porter Hedges, LLP (“PH” or the “Applicant”), as Bankruptcy Counsel for the Chapter 7

Trustee, Christopher R. Murray (the “Trustee”), files this First Interim Application for Payment

of Compensation and Reimbursement of Expenses for the period from June 14, 2024 through and

including October 31, 2024 (the “Application Period”), and respectfully represents as follows:




                                               2
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 4 of 18




                                        JURISDICTION

       1.      PH submits this Fee Application pursuant to section 330 of title 11 of the United

States Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedures

(the “Bankruptcy Rules”), and Rule 2016-1 of the Bankruptcy Local Rules (the “Local Rules”).

       2.      The Court has jurisdiction over the Application pursuant to 28 U.S.C. § 1334. This

is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper pursuant to 28 U.S.C. § 1408.

                                    RELIEF REQUESTED

       3.      PH requests that the Court enter an order (i) allowing PH’s compensation for

professional and paraprofessional services to the Trustee rendered during the Application Period

in the amount of $593,114.00 and reimbursement of actual and necessary expenses incurred by

PH in the amount of $14,034.90; and (ii) award and order to be paid to PH the balance of any such

fees and costs paid from funds available in the Debtor’s estate.

                                        BACKGROUND

A. Bankruptcy Case Background

       4.      On July 29, 2022, Free Speech Systems, LLC (“FSS”) filed its voluntary petition

for relief under chapter 11 subchapter V of the Bankruptcy Code (the “FSS Case”).

       5.      On December 2, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code (prior to the Conversion Date, the “Jones

Chapter 11 Case”, and after the Conversion Date, the “Jones Chapter 7 Case”). The Debtor is an

employee of FSS. 100 percent of the outstanding membership interests in FSS are owned by the

Debtor’s bankruptcy estate.

       6.      On December 2, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code (prior to the Conversion Date, the “Jones



                                                 3
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 5 of 18




Chapter 11 Case”, and after the Conversion Date, the “Jones Chapter 7 Case”). The Debtor is an

employee of FSS. 100 percent of the outstanding membership interests in FSS are owned by the

Debtor’s bankruptcy estate.

       7.      On December 13, 2022, the United States Trustee for Region 7 (Southern and

Western Districts of Texas) (the “U.S. Trustee”) appointed the Official Committee of Unsecured

Creditors in the Jones Chapter 11 Case pursuant to Bankruptcy Code section 1102(a)(1).

       8.      The Debtor continued managing his assets as debtor and debtor in possession

pursuant to sections 1107 and 1108 of the Bankruptcy Code until the Court entered its Order

Converting Debtor’s Chapter 11 Case to a Case Under Chapter 7 of the Bankruptcy Code [Docket

No. 708] on June 14, 2024 (the “Conversion Date”). On June 21, 2024, the Court entered an order

dismissing the FSS Case [Case No. 22-60043, Docket No. 956] (the “Dismissal Order”), while

retaining exclusive jurisdiction over several adversary proceedings and the approval of

professional fees and expenses, as supplemented by the Supplemental Dismissal Order (as defined

below). On the Conversion Date, the U.S. Trustee appointed Christopher R. Murray as the

Chapter 7 Trustee in the Jones Chapter 7 Case.

       9.      On August 22, 2024, the Trustee filed the Trustee’s Motion for Entry of an Order

Authorizing the Winddown of Free Speech Systems, LLC [Docket No. 829].

       10.     On September 25, 2024, the Court entered the Order Supplementing Order

Dismissing Case [Case No. 22-60043, Docket No. 1021] (the “Supplemental Dismissal Order”),

which provided that effective as of the entry of the Dismissal Order, the property of FSS’s

bankruptcy estate was deemed vested in the bankruptcy estate of Jones as property of his estate to

be administered by the Trustee.




                                                 4
15623963
             Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 6 of 18




             11.      On September 25, 2024, the Court entered the Winddown Order, authorizing the

  auction and sale of the assets of FSS.

  B. PH Retention and Fees

             12.      On July 3, 2024, Trustee filed the Application for Entry of an Order Authorizing

  the Retention and Employment of Porter Hedges LLP as Co-Counsel for Christopher R. Murray,

  as Chapter 7 Trustee [Docket. No. 756], which the Court approved on July 30, 2024 [Docket No.

  792].

             13.      On July 30, 2024, the Court entered the Order Establishing Procedures for Interim

  Compensation and Reimbursement of Expenses for Professionals and Trustee [Docket No. 793]

  (the “Interim Compensation Order”).

             14.      This is PH’s first interim fee application in the Jones Chapter 7 Case. During the

  Application Period, PH filed five (5) monthly fee statements, which are attached hereto as

  Exhibit 3, and are summarized below:

         Period                Expenses         Fees Incurred             Total Fees and            Amount Outstanding
                               Incurred                                   Expenses Paid
06/14/24-06/30/24                $539.12              $91,545.50                $73,775.52                         $17,684.10
07/01/24-07/31/24              $1,930.04             $108,569.50                $88,785.64                         $21,713.90
08/01/24-08/31/24              $1,881.17             $103,537.50                $84,711.17                         $20,707.50
09/01/24-09/30/24              $4,836.49             $130,496.00              $109,233.29                          $26,099.20
10/01/24-10/31/241             $4,848.08             $159,590.50              $132,520.48                          $31,918.10
Total:                        $14,034.90             $593,739.00                $489,026.10                      $118,122.802




  1
      The objection deadline to PH’s Fifth Monthly Fee Statement (October 1, 2024 to October 31, 2024) is November
      18, 2024. PH does not anticipate any objections to its Fifth Monthly Fee Statement and anticipates that it will receive
      payment in accordance with the Interim Compensation Order prior to entry of an order approving this Application.
      This line reflects receipt of that anticipated payment.
  2
      PH’s fee statement for the June 14 to June 30 time period inadvertently included $625.00 of professional fees for
      work performed prior to PH’s retention on June 14, 2024. The amount of PH’s requested compensation for the
      Application Period, the Amount Outstanding column, and the amount outstanding included on the proposed order
      attached hereto have been reduced by $625.00 accordingly.


                                                                5
  15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 7 of 18




       15.      This Fee Application requests that the Court enter an order (i) allowing PH’s

compensation for professional and paraprofessional services to the Trustee rendered during the

Application Period in the amount of $593,114.00 and reimbursement of actual and necessary

expenses incurred by PH in the amount of $14,034.90; and (ii) award and order to be paid to PH

the balance of any such fees and costs paid from funds available in the Debtor’s estate. Summary

calculations of these fees and expenses are attached hereto as Exhibit 2 and Exhibit 4,

respectively.

       16.      The fees and expenses requested are reasonable and all amounts requested were for

actual and necessary services rendered on behalf of the Trustee.

       16.      PH reserves the right to request additional compensation for the Application Period

to the extent that it is later determined that time or disbursement charges for services rendered or

disbursements incurred during such time period have not yet been submitted.

       18.      No agreement or understanding exists between PH and any other entity for sharing

of any compensation or reimbursement in this case.

       19.      PH has provided the information required by the U.S. Trustee’s Guidelines and the

Interim Compensation Order.

       20.      PH has served as special counsel to the Trustee and, in that capacity, has rendered

legal services for the benefit of the Trustee and the Debtor’s estate.

    STANDARDS RELEVANT TO AWARDING REASONABLE COMPENSATION

       21.      Section 330 of the Bankruptcy Code authorizes the Court to award PH reasonable

compensation for its actual and necessary services rendered and reimbursement of its actual and

necessary expenses incurred in the rendering of services as special counsel to the Trustee. Section

330 provides:



                                                  6
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 8 of 18




        (a)(1) After notice to the parties in interest and to the United States Trustee and a
               hearing, and subject to sections 326, 328, and 329, the court may award to
               a trustee, a consumer privacy ombudsman appointed under section 332, an
               examiner, an ombudsman appointed under section 333, or a professional
               person employed under section 327 or 1103:

                (A)      reasonable compensation for actual, necessary services
                         rendered by the trustee, examiner, ombudsman, professional
                         person or attorney and by any paraprofessional person
                         employed by any such person; and

                (B)      reimbursement for actual, necessary expenses.

11 U.S.C. § 330(a)(1).

        22.     This Fee Application substantiates the total amount that PH seeks for fees and

expenses in accordance with each element of the customary standards applied to fee applications.

These standards are set forth in (i) Bankruptcy Rule 2016 and (ii) In re First Colonial Corp. of

America, 544 F.2d 1291 (5th Cir. 1977), cert. denied, 431 U.S. 904 (1977).

        23.     In First Colonial, the Fifth Circuit adopted the following twelve factors to apply to

the determination of awards of attorneys’ fees in bankruptcy cases: (i) time and labor required;

(ii) the novelty and difficulty of the questions; (iii) the skill requisite to perform the legal service

properly; (iv) the preclusion of other employment by the professional due to acceptance of the

case; (v) the customary fee; (vi) whether the fee is contingent or fixed; (vii) time limitations

imposed by the client or the circumstances; (viii) the amount involved and the results obtained;

(ix) the experience, reputation and ability of the attorneys; (x) the “undesirability” of the case;

(xi) the nature and length of the professional relationship with the client; and (xii) awards in similar

cases. First Colonial, 544 F.2d at 1298-99. These factors were taken from Johnson v. Georgia

Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), a non-bankruptcy case, and are

commonly referred to as the “Johnson factors.” The original Johnson factors, as embraced by First

Colonial, remain applicable to the determination of reasonableness of fees awarded under the


                                                   7
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 9 of 18




Bankruptcy Code. See 15 King, Collier on Bankruptcy, ¶ 330.04[3] at 330-35 to 330-41. A

majority of the Johnson factors are now codified under Bankruptcy Code Section 330(a). Id.

       24.     The Fifth Circuit has rejected the “hindsight” or “material benefit” standard that

was originally set forth in In re Pro-Snax Distributors, Inc., 157 F.3d 414 (5th Cir. 1998). In its

place, the Fifth Circuit enunciated a new, prospective standard based on whether the services of

counsel were reasonably likely to benefit the estate at the time such services were rendered. See In

re Woerner, 783 F.3d 266, 276 (5th Cir. 2015). All services rendered by PH satisfy the Woerner

standard because they were reasonably likely to benefit the estate at the time rendered.

               NATURE AND EXTENT OF SERVICES PROVIDED BY PH

       25.     PH classified all services performed for which compensation is sought in five (5)

categories. PH attempted to divide its services rendered to the Trustee in these bankruptcy cases

into appropriate categories. However, because certain services may relate to more than a single

category, services pertaining to one category may be included in another category. Copies of PH’s

monthly fee statements are attached hereto as Exhibit 3 in accordance with the Court’s procedures

and provide detailed descriptions of the services PH rendered with respect to each of these

categories. A summary of compensation requested by project category is attached hereto as

Exhibit 2.

A. Asset Analysis and Recovery

       26.     The majority of time billed by PH in this category during the Application Period

related to planning and negotiating the auction and sale process for estate assets, drafting sale

motions and orders, the transition of the Jones bankruptcy case and the FSS assets from chapter

11 to chapter 7, and ongoing meetings and communications with professionals and potential

bidders.



                                                 8
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 10 of 18




       27.     Services rendered in this category included, but were not limited to, (i) ongoing

meetings with the Trustee’s team regarding asset sale process and case status; (ii) analyzing

ownership of assets of the Jones estate and FSS; (iii) drafting, revising and filing the Trustee’s

Motion for Entry of an Order Authorizing the Winddown of Free Speech Systems, LLC [Docket

No. 829]; (iv) negotiating the Order Granting Trustee’s Motion for Entry of an Order Authorizing

the Winddown of Free Speech Systems, LLC [Docket No. 859] (the “Winddown Order”);

(v) drafting, revising and filing the Trustee’s Emergency Motion for Entry of an Order Authorizing

(I) the Sale of Intellectual Property Assets in Connection with the Winddown of Free Speech

Systems, LLC and (II) the Assumption and Assignment of Executory Contracts [Docket No. 882]

(the “Jones IP Assets Sale Motion”); (vi) ongoing negotiations with Debtor’s counsel regarding

the order approving the Jones IP Assets Sale Motion; (vii) ongoing communications with potential

bidders for FSS assets; (viii) drafting a form asset purchase agreement in connection with the FSS

asset auction; (ix) analyzing potential recoveries from asset recovery actions; (x) attending to

business transition and labor and employment issues; (xi) drafting employee incentive agreements

and packages; (xii) preparing for media inquiries; (xiii) analyzing issues related to intellectual

property; (xiii) negotiating potential settlements regarding the disposition and apportionment of

estate assets and their proceeds; (xiv) analyzing case law related to the ownership and disposition

of estate property; (xv) managing the transition of the Jones estate and FSS assets into chapter 7;

(xvi) attending to professional fee issues and drafting stipulations extending objection deadlines;

(xvii) negotiating and drafting a subpoena of Unsecured Creditors’ Committee information and

documents; (xviii) negotiating and drafting protective order [Docket No. 802]; (xix) reviewing and

analyzing document production; (xx) analyzing Alex Jones and FSS schedules and statements of

financial affairs; and (xxi) preparing witness and exhibit lists for sale hearings.



                                                  9
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 11 of 18




       28.     PH expended 673.10 hours of time to provide such services. Professional fees in

this category total $460,925.00.

B. Case Administration

       29.     The majority of time billed by PH during the Application Period in this category

related to ensuring the efficient and smooth administration of legal services related to the Jones

Chapter 7 Case. In particular, services rendered in this category during the Application Period

included, but were not limited to, (i) managing and administering the bankruptcy case, such as

maintenance of case calendars, task lists, docket updates, and ongoing scheduling of key deadlines;

(ii) coordinating filing and service of motions and orders; (iii) coordinating hearing logistics,

including preparing and filing witness and exhibit lists in advance of hearings; and (iv) ensuring

compliance with service and notice requirements.

       30.     PH expended 46.00 hours of time to provide such services. Professional fees in

this category total $21,108.00.

C. Employment/Fee Applications

       31.     The majority of time billed by PH during the Application Period in this category

related to preparation of employment applications and the interim compensation motion, the

preparation of PH’s first interim fee application, and the preparation and filing of monthly fee

statements. Services rendered in this category included, but were not limited to, (i) drafting,

revising, and filing PH’s employment application [Docket No. 756]; (ii) drafting, revising, and

filing Tranzon360’s employment application [Docket No. 828]; (iii) drafting, revising, and filing

the interim compensation motion [Docket No. 757]; (iv) beginning drafting this Application; (ii)

drafting, revising, and filing PH’s interim fee statements; (iii) corresponding about and




                                                10
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 12 of 18




coordinating service for monthly fee statements; and (iv) corresponding with PH team and

Trustee’s team regarding fee applications.

       32.     PH expended 35.00 hours of time to provide such services. Professional fees in

this category total $21,894.00.

D. Litigation/Contested Matters

       33.     The majority of time billed by PH during the Application Period in this category

related to analyzing, managing, and engaging in motion practice related to state court litigation

and adversary proceedings.

       34.     Services rendered in this category also included, but were not limited to,

(i) analyzing and responding to the turnover order entered in the state court action styled Neil

Heslin and Scarlett Lewis v. Alex E. Jones and Free Speech Systems, LLC, Cause No. 2-1-GN-18-

01835; (ii) drafting, revising, and filing Trustee’s Emergency Motion to (1) Clarify Transfer of

Control and Signing Authority with Respect to Debtor’s Bank Accounts, (2) for an Order

Extending Automatic Stay in the Alex Jones Case to Free Speech Systems, LLC, and (3) Related

Relief [Docket No. 720] (“Motion to Clarify”); (iii) drafting, revising, and filing motions to transfer

venue from the Western District of Texas; (iv) preparing for the hearing on Motion to Clarify;

(v) drafting motions for extension of time to file responses to Texas Plaintiffs’ motion to remand;

(vi) analyzing case law regarding transferring venue and standards for remand; (vii) ongoing

conferences with Texas Plaintiffs and Connecticut Plaintiffs regarding state court actions; (viii)

drafting a response to Texas Plaintiffs’ motion to remand; (ix) analyzing claims against PQPR in

Free Speech Systems, LLC v. PQPR Holdings Limited, LLC, et al., Adv. No. 23-03127; (x)

analyzing legal issues with the appeal of the Supplemental Dismissal Order; (xi) ongoing

negotiations with parties in the case regarding settlement of adversary proceedings and state court



                                                  11
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 13 of 18




litigation; and (xii) drafting form motion to enforce the automatic stay against potential stay

violators.

       35.     PH expended 133.10 hours of time to provide such services. Professional fees in

this category total $86,735.50.

E. Meetings and Communications with Creditors

       36.     The majority of time billed by PH during the Application Period in this category

related to communications with creditors of the Alex Jones bankruptcy estate and of FSS.

       37.     PH expended 3.70 hours of time to provide such services. Professional fees in this

category total $3,076.50.

           ADDITIONAL STANDARDS FOR AWARDING OF ATTORNEYS’ FEES

       A.      NOVELTY AND DIFFICULTY OF LEGAL PROBLEMS INVOLVED

       38.     The first Johnson factor examines the degree of novelty and difficulty of the issues

encountered by PH. With respect to the matters described herein, numerous difficult and complex

legal problems have been addressed and considered by PH, all of which have required knowledge

of the application of the Bankruptcy Code, the Bankruptcy Rules and court decisions interpreting

the same.

       B.      CUSTOMARY FEE

       39.     The next relevant factor to be considered is the reasonable hourly rate by which the

reasonable number of hours expended by PH are to be multiplied. Subsumed in this analysis are

the following guidelines, as noted in Johnson: the customary fee charged by the applicant, awards




                                                12
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 14 of 18




in similar cases, the level of skill necessary, the amount involved, the results obtained, the

reputation of the professional and the undesirability of the case.

           40.   PH’s hourly billing rates are computed at the rates PH regularly charges its hourly

clients.

           41.   The hourly rates charged by PH are also lower than or commensurate with the

customary fees charged by professionals of similar experience, reputation and abilities in this

community, as well as those rates charged regionally and nationally. Additionally, the hourly rates

charged by PH are consistent with the amount involved in these cases, the results obtained by PH,

and the level of skill necessary to perform the work. Accordingly, the hourly billing rates charged

by PH are reasonable.

           C.    SKILL REQUIRED FOR PERFORMANCE OF LEGAL SERVICES

           42.   The number of difficult issues and matters addressed in these cases has required a

high degree of skill and expertise. PH’s attorneys, with varying levels of experience and seniority,

have been used effectively and efficiently to perform the tasks assigned to them and have provided

valuable and effective assistance to the Trustee. A thorough understanding of the Bankruptcy Code

and Bankruptcy Rules was blended with business expertise to assist the Trustee. In addition,

multiple issues in these bankruptcy cases, including, but not limited to, the dismissal of the FSS

Case, ongoing litigation related to the FSS Case and the Jones Case, and the potential sales of

Jones and FSS assets have required additional expertise from PH’s attorneys. The compensation

requested by PH is consistent with the compensation awarded in other cases of similar size and

complexity.

           D.    RESULTS OBTAINED

           43.   PH’s actions in this case have assisted the Trustee in his efforts to maximize the



                                                 13
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 15 of 18




value of the estates and efficiently administer these cases. These cases have been handled in a

professional and cost-effective manner. The requested compensation is reasonable in view of the

time expended, the parties involved, and the results obtained in these cases.

       E.      EXPERIENCE, REPUTATION, AND ABILITY OF PH

       44.     PH’s attorneys, over many years, have appeared throughout the United States

providing legal representation to trustees, debtors, secured creditors, unsecured creditors, and

creditors’ committees in proceedings under the Bankruptcy Code. Further, partners of PH,

including those who have provided legal services in the instant cases, have for many years actively

participated in leadership positions in local, state and national bar associations, and have written

for local and national publications and spoken at local, state and national institutes for continuing

legal education in the creditors’ rights and bankruptcy areas. PH’s attorneys are experienced in all

aspects of bankruptcy matters, possess a high level of expertise, and have an excellent reputation

in the business and legal communities. Furthermore, PH has particular experience in the areas of

insolvency, workout and corporate reorganization.

       F.      CONTINGENT NATURE OF FEES AND UNDESIRABILITY OF CASE

       45.     No contingent fees are requested in these cases.

       G.      TIME LIMITATIONS IMPOSED BY THE CASE

       46.     The time demands of this representation have not resulted in a disproportionate

allocation of resources by PH. PH worked quickly, diligently, and efficiently to address the serious

challenges faced by the Debtor’s estate within the Application Period.

       47.     These fees and costs were necessary for the proper and successful administration

of the bankruptcy cases. PH made every effort to keep all fees and costs to a minimum.

       48.     At all times covered by this Fee Application, PH diligently fulfilled its duty as



                                                 14
15623963
         Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 16 of 18




bankruptcy counsel for the Trustee. All services rendered by PH benefitted the estates at the time

that such services were rendered. Services performed by PH throughout these cases were done in

a professional, skilled, and expeditious manner, requiring substantially less time than would have

been required by counsel with less experience. Every action of PH was taken to reduce the legal

hours expended and matters not demanding the services of senior attorneys were assigned to junior

associates, or paralegals.

         49.   No agreement exists between PH and any other person, firm or entity for division

or sharing of compensation in these cases.

         50.   The above narrative portion of this Fee Application is primarily intended to serve

as a summary recapitulation of the major areas of PH’s activities and responsibilities. The exhibits

provide complete recapitulations of the acts taken by PH on behalf of the Trustee during these

cases.

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                                                15
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 17 of 18




       WHEREFORE, PH requests that the Court enter an order (i) allowing PH’s compensation

for professional and paraprofessional services to the Trustee rendered during the Application

Period in the amount of $593,114.00 and reimbursement of actual and necessary expenses incurred

by PH in the amount of $14,034.90; and (ii) award and order to be paid to PH the balance of any

such fees and costs paid from funds available in the Debtor’s estate.

Dated: November 14, 2024.
       Houston, Texas

                                                     Respectfully Submitted,

                                                     PORTER HEDGES LLP

                                             By:     /s/ Joshua W. Wolfshohl
                                                     Joshua W. Wolfshohl (Bar No. 24038592)
                                                     Michael B. Dearman (Bar No. 24116270)
                                                     Jordan T. Stevens (Bar No. 24106467)
                                                     Kenesha L. Starling (Bar No.24114906)
                                                     1000 Main Street, 36th Floor
                                                     Houston, Texas 77002
                                                     Telephone: (713) 226-6000
                                                     Facsimile: (713) 226-6248
                                                     jwolfshohl@porterhedges.com
                                                     mdearman@porterhedges.com
                                                     jstevens@porterhedges.com
                                                     kstarling@porterhedges.com

                                                     Co-Counsel for the Chapter 7
                                                     Trustee, Christopher R. Murray




                                                16
15623963
       Case 22-33553 Document 910 Filed in TXSB on 11/14/24 Page 18 of 18




                                CERTIFICATE OF SERVICE

        This will certify that a true and correct copy of the foregoing document was forwarded by
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                                                    /s/ Joshua W. Wolfshohl
                                                     Joshua W. Wolfshohl




                                               17
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